     Case 2:19-cr-00677-PSG Document 26 Filed 03/10/20 Page 1 of 1 Page ID #:77



 1   NICOLA T. HANNA
     United States Attorney
 2   BRANDON D. FOX
     Assistant United States Attorney
 3   Chief, Criminal Division
     PAUL G. STERN (Cal. Bar No. 162734)
 4   Assistant United States Attorney
     Environmental and Community Safety Crimes Section
 5        1300 United States Courthouse
          312 North Spring Street
 6        Los Angeles, California 90012
          Telephone: (213) 894-
 7        Facsimile: (213) 894-6269
          E-mail:    Heather.Gorman@usdoj.gov
 8                   Paul.Stern@usdoj.gov
                     Erik.Silber@usdoj.gov
 9
     Attorneys for Plaintiff
10   UNITED STATES OF AMERICA

11                          UNITED STATES DISTRICT COURT

12                     FOR THE CENTRAL DISTRICT OF CALIFORNIA

13   UNITED STATES OF AMERICA,               CR 19-677-PSG

14             Plaintiff,                    GOVERNMENT’S CONCURRENCE WITH
                                             PRESENTENCE REPORT AND PROBATION
15                    v.                     OFFICE’S RECOMMENDATION LETTER
16   JANETH BREWER,                          Sentencing: March 30, 2020
                                             Time:       10 a.m.
17             Defendant

18        The government hereby concurs with the factual findings and
19   guidelines analysis set forth in the Presentence Report and in the
20   recommendations set forth in the United States Probation Office’s
21   Recommendation Letter, filed on February 25, 2020.
22

23

24

25

26

27

28
